              Case 2:20-cr-00156-RSM Document 104 Filed 01/11/21 Page 1 of 2




                                                          Honorable Chief Judge Ricardo S. Martinez
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6                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
7                                       AT SEATTLE
8

9                                                              NO. CR20-0156 RSM
           UNITED STATES OF AMERICA,
10
                              Plaintiff,                       ORDER
11

12                     v.

13
           LISANDRE DOWELL-ENNIS,
14
                              Defendant.
15

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17
              THE COURT has considered the Defendant’s stipulated motion to Modify Conditions
18
     of Release by removing the condition of location monitoring/home detention and to add a
19
     curfew condition, along with all the records and files in this case.
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              THE COURT FINDS that the circumstances are as set forth in the parties’ stipulated
21
     motion. Accordingly,
22
              THE COURT ORDERS the the removal of the pre-trial release condition of home
23
     detention/location monitoring and adds curfew condition that reasonably accommodates work
24
     ///
25

      ORDER GRANTING STIPULATED MOTION TO MODIFY CONDITIONS                               THOMAS D. COE
                                                                                              Attorney at Law
      OF RELEASE                                                                                PO Box 10356
      Page - 1                                                                   Bainbridge Island, WA 98110
                                                                                               (206) 340-8816
            Case 2:20-cr-00156-RSM Document 104 Filed 01/11/21 Page 2 of 2




1    and child-care duties with initial curfew of 9:00 p.m. - 5:00 a.m., and that all other conditions

2    remain in full force and effect.

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5           DONE this day 11th of January, 2021.

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                                                   A
                                                   RICARDO S. MARTINEZ
9                                                  CHIEF UNITED STATES DISTRICT JUDGE

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11
     Presented by:
12
     /s/ Thomas D. Coe
13   By:
     THOMAS D. COE
14
     Attorney for Defendant Park Hung Quan
15

16   /s/ Casey S. Conzatti
     By:
17   CASEY S. CONZATTI
     Assistant United States Attorney
18

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      ORDER GRANTING STIPULATED MOTION TO MODIFY CONDITIONS                                  THOMAS D. COE
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